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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION

 NAVY SEAL # 1, et al.,

                             Plaintiffs,
                                                       Case No. 8:21-cv-02429-SDM-TGW
        v.

 JOSEPH R. BIDEN, JR., in his official
 capacity as President of the United States, et al.,

                             Defendants.

               DEFENDANTS’ NOTICE OF INTENT TO RESPOND
        Defendants hereby notify the Court that they intend to respond to the recently

 filed declarations in support of Plaintiffs’ motion for class-wide preliminary

 injunctive relief. On February 22, 2022, Plaintiffs filed a second declaration from

 Plaintiffs’ counsel, which is effectively a supplemental brief, as well as declarations

 from four Plaintiffs. Moreover, Plaintiffs’ counsel waited until February 23, 2022, to

 provide defense counsel with the names of Plaintiffs, even though defense counsel

 made several requests for the names in order to be able to investigate the allegations

 in Plaintiffs’ complaint and declarations, which Defendants have thus far been

 unable to do for all but two Plaintiffs.

        Now that Defendants have the names of the Plaintiffs, Defendants are

 investigating the allegations in Plaintiffs’ notice and supplemental declarations and

 intend to respond as quickly as possible. Defendants request 10 days in which to

 respond, by March 4.


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 Dated: February 23, 2022              Respectfully submitted,

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